                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 ARTHUR M. LOVE,                                    *

                   Plaintiff,                       *

          v.                                        *        No. 1:21-CV-02029

 LARRY HOGAN, et al.,                               *

                   Defendants.                      *

 *    *        *   *    *       *   *   *   *   *   *    *     *   *   *   *     *   *   *   *   *

                                                ORDER

      UPON CONSIDERATION of the Motion to Dismiss filed by Defendants (the

“Motion”), and any opposition thereto, and any argument thereon, it is this ____ day of

__________________, 2021, by the United States District Court for the District of

Maryland hereby

      ORDERED that Defendants’ Motion is GRANTED; and it is further

      ORDERED that plaintiff’s complaint is DISMISSED WITH PREJUDICE.



                                                        _________________________________
                                                        Richard D. Bennett
                                                        United States District Judge
